Case 4:18-cv-12128-MFL-EAS ECF No. 57, PageID.664 Filed 06/24/22 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LUIS GUZMAN DIAZ,

             Plaintiff,                                   Case No. 18-cv-12128
                                                          Hon. Matthew F. Leitman
v.

GREAT LOGICS, INC.,

          Defendant.
__________________________________________________________________/

              ORDER ADMINISTRATIVELY TERMINATING
             PENDING MOTIONS (ECF Nos. 40, 41, 42, AND 56)

      On May 25, 2022, the parties appeared for a Final Pre-Trial Conference in this

action. At that conference, the parties reached a settlement and placed the terms of

the settlement on the record.      Based on the parties’ settlement, the Court

TERMINATES AS MOOT all of the outstanding motions in this action (ECF Nos.

40, 41, 42, and 56).

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
Dated: June 24, 2022                  UNITED STATES DISTRICT JUDGE




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Case 4:18-cv-12128-MFL-EAS ECF No. 57, PageID.665 Filed 06/24/22 Page 2 of 2




       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on June 24, 2022, by electronic means and/or
ordinary mail.

                                     s/Holly A. Ryan
                                     Case Manager
                                     (313) 234-5126




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